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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY
MINUTES OF PROCEEDINGS

December 4, 2006
NEWARK OFFICE DATE OF PROCEEDINGS

JUDGE PETER G. SHERIDAN, USDJ
COURT REPORTER: IRA RUBENSTEIN

Other(s)

 

Docket # Civ. 06 - 5782 (PGS)
TITLE OF CASE
SAVIENT PHARMACEUTICALS, INC.
VS.
SANDOZ, INC., et al
APPEARANCE:

ARNOLD B. CALMANN, JONATHAN S. CAPLAN, and DONALD L. RHOADS , ESQS., FOR
PLAINTIFFS

JAMES C. SIMPSON, MARTIN B. PAVANE, THOMAS C. PONTANI, Ph.D, MINDY H. GHETTIH,
JOHN S. GOETZ and DANIEL G. BROWN, ESOS. FOR DEFENDANTS

NATURE OF PROCEEDINGS: HEARING
NO APPEARANCE,

OPINION READ INTO THE READ,

ORDER TO BE FILED.
Adjourned to: Time commenced: 12:00 p.m. Time Adjourned: 1:00 p.m.
Dolores Hicks

DEPUTY CLERK

cc: Chambers

 
